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 8
 9                                   UNITED STATES DISTRICT COURT
10                                   DISTRICT OF ARIZONA, PHOENIX
11
12 United States of America,                          CASE NO. 2:18-cr-00422-004-PHX-SMB
13                      Plaintiff,                    DEFENDANTS’ NOTICE OF
                                                      LODGING OF PROPOSED JURY
14               vs.                                  QUESTIONNAIRE
15 Michael Lacey, et al.,                             Assigned to Hon. Susan M. Brnovich
                                                      Courtroom 506
16                      Defendants.
                                                      Trial Date:       May 5, 2020
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         Case 2:18-cr-00422-DJH Document 877 Filed 02/07/20 Page 2 of 3




 1 TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2               PLEASE TAKE NOTICE THAT Defendants hereby submit their Proposed Jury
 3 Questionnaire, which is attached as Exhibit A.
 4
 5               Pursuant to the District’s Electronic Case Filing Administrative Policies and
 6 Procedures Manual (January 2020) § II (C) (3), Gopi K. Panchapakesan herby attests that
 7 all other signatories listed, and on whose behalf this filing is submitted, concur in the
 8 filing’s content and have authorized its filing.
 9
10 DATED: February 7, 2020                      Respectfully submitted,
11                                              Gary S. Lincenberg
12                                              Ariel A. Neuman
                                                Gopi K. Panchapakesan
13                                              Bird, Marella, Boxer, Wolpert, Nessim,
                                                Drooks, Lincenberg & Rhow, P.C.
14
15
                                                By:         /s/ Gopi K. Panchapakesan
16                                                                Gopi K. Panchapakesan
17                                                    Attorneys for Defendant John Brunst

18
     DATED: February 7, 2020                    Thomas H. Bienert Jr.
19                                              Whitney Z. Bernstein
20                                              Bienert | Katzman PC

21
                                                By:         /s/ Thomas H. Bienert Jr.
22
                                                                  Thomas H. Bienert Jr.
23                                                    Attorneys for Defendant James Larkin
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                      DEFENDANTS’ NOTICE OF LODGING OF PROPOSED JURY QUESTIONNAIRE
         Case 2:18-cr-00422-DJH Document 877 Filed 02/07/20 Page 3 of 3




 1 DATED: February 7, 2020              Paul J. Cambria
                                        Erin McCampbell
 2                                      Lipsitz Green Scime Cambria LLP
 3
 4                                      By:         /s/ Paul J. Cambria
 5                                                        Paul J. Cambria
                                              Attorneys for Defendant Michael Lacey
 6
 7 DATED: February 7, 2020              Feder Law Office, P.A.
 8
 9                                      By:         /s/ Bruce S. Feder
                                                          Bruce S. Feder
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                                              Attorneys for Defendant Scott Spear
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12 DATED: February 7, 2020              The Law Office of David Eisenberg, PLC
13
14                                      By:         /s/ David Eisenberg
                                                          David Eisenberg
15                                            Attorneys for Defendant Andrew Padilla
16
17 DATED: February 7, 2020              Joy Bertrand Esq. LLC

18
                                        By:         /s/ Joy Malby Bertrand
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                                                           Joy Malby Bertrand
20                                            Attorneys for Defendant Joye Vaught
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                 DEFENDANTS’ NOTICE OF LODGING OF PROPOSED JURY QUESTIONNAIRE
